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                       Exhibit A
            Exhibit A1: Proposed Constructions for the ’060 and ’160 Patents

                 Exhibit A2: Proposed Constructions for the ’506 Patent

                 Exhibit A3: Proposed Constructions for the ’339 Patent

            Exhibit A4: Proposed Constructions for the ’918 and ’054 Patents
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                                 Exhibit A1: Proposed Constructions for the ’060 and ’160 Patents

Term (Patent/Claim)                  Netlist’s Proposed             Micron’s Proposed                  Court’s Construction
                                     Construction                   Construction
“die interconnect[s] in              Plain and ordinary meaning,    Plain and ordinary meaning,
electrical communication             that is, “electrical           i.e., does not require importing
with the . . . group of array dies   communication” is different    a “data port” or
and not in electrical                from “electrical connection”   “responsiveness” limitation
communication with the . . .                                        into the claim to require
group of at least one array die”                                    electrical communications (or
                                                                    lack of electrical
’060: claims. 1, 11, 20, 29;                                        communications) between the
’160: claim 1                                                       die interconnect(s) and the data
                                                                    ports of the array die(s)
“the second driver size being Plain and ordinary meaning,           “the physical dimensions of
different from the first driver that is, the size of the second     the second driver being
size”                           driver being different from the     different from the physical
                                size of the first driver            dimensions of the first driver”
’160: claim 1

“The memory package of               Not indefinite                 Indefinite
claim 1, wherein a first
number of array dies in the
first group of array dies and
a second number of at least
one array die in the second
group of at least one array
die are selected in
consideration of a load of the
first die interconnect and a
load of the second die
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Term (Patent/Claim)              Netlist’s Proposed     Micron’s Proposed         Court’s Construction
                                 Construction           Construction
interconnect so as to reduce a
difference between a first
load on the first data conduit
and a second load on the
second data conduit, the first
load including a load of the
first die interconnect, and a
load of the first group of
array dies, and the second
load including a load of the
second die interconnect and a
load of the second group of at
least one array die.”

’060: claim 7

“array die”                                                                       “array die that is different from
                                                                                  a DRAM circuit”
’060 and ’160: all asserted                [Agreed]              [Agreed]
claims

“chip select conduits” / “chip                                                    Plain and ordinary meaning
select conduits”
                                           [Agreed]              [Agreed]
’060: claims 6, 11-14, 16-19,
20-21, 23-28

“A memory package”                                                                The preamble is limiting

’060 and ’160: all asserted                [Agreed]              [Agreed]
claims



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                                    Exhibit A2: Proposed Constructions for the ’506 Patent

Term (Patent/Claim)               Netlist’s Proposed               Micron’s Proposed                  Court’s Construction
                                  Construction                     Construction
“one or more previous             one or more previous memory      “one or more previous memory
operations”                       operations                       operations” where “memory
                                                                   operations” are different from
’506: claims 1-3, 11, 15, 16
                                                                   leveling operations
“before receiving the input                                        “during one or more previous
                                  The step of “determining the
C/A signals corresponding to                                       memory operations,
                                  first predetermined amount
the memory read operation,                                         determining the first
                                  based as least on signals
determining the first                                              predetermined amount based at
                                  received by the first data
predetermined amount based                                         least on signals received by the
                                  buffer” occurs before the
at least on signals received by                                    first data buffer” where
                                  earlier recited step of
the first data buffer”                                             “memory operations” are
                                  “receiving . . . input C/A
                                                                   different from leveling
’506: claim 14                    signals”
                                                                   operations
“A memory module operable                                                                             The preamble is limiting
in a computer system to
communicate with a memory
controller of the computer
system via a memory bus
including control and                       [Agreed]                          [Agreed]
address (C/A) signal lines
and a data bus, the memory
module comprising”

’506: claim 1




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                                     Exhibit A3: Proposed Constructions for the ’339 Patent

 Term (Patent/Claim)              Netlist’s Proposed           Micron’s Proposed Construction              Court’s Construction
                                  Construction
 “to actively drive a respective to “drive” means              Adopts and applies the Court’s
 byte-wise section of the N-bit “enabling only one of the      adoption of the “fork-in-the- road”
 wide write data”                data paths while the other    configuration and rejection of the
                                 possible paths are            “straight-line” configuration to
 ’339: claim 11                  disabled” (i.e., no further   construe “drive” to mean “enabling
                                 construction necessary)       only one of the data paths while the
                                                               other possible paths are disabled,” i.e.,
                                                               “to enable only one of the data paths
                                                               for the respective byte-wise section of
                                                               the N-bit wide write data while the
                                                               other possible data paths for the same
                                                               respective byte-wise section of the N-
                                                               bit wide write data are disabled”
 “to actively drive a respective to “drive” means              Adopts and applies the Court’s
 section of the N-bit wide       “enabling only one of the     adoption of the “fork-in-the- road”
 write data”                     data paths while the other    configuration and rejection of the
                                 possible paths are            “straight-line” configuration to
 ’339: claim 11                  disabled” (i.e., no further   construe “drive” to mean “enabling
                                 construction necessary)       only one of the data paths while the
                                                               other possible paths are disabled,” i.e.,
                                                                “to enable only one of the data paths
                                                               for the respective section of the N-bit
                                                               wide write data while the other possible
                                                               data paths for the same respective

       1
         The parties’ proposed constructions for the “drive” terms in ’339 claims 11, 19 and 27 mirror the proposed constructions for
’339 claim 1. See Dkt. 69-1 at 16-20 (Netlist’s proposed constructions), Dkt. 69-2 at 6-22 (Micron’s proposed constructions).



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Term (Patent/Claim)             Netlist’s Proposed            Micron’s Proposed Construction                Court’s Construction
                                Construction
                                                              section of the N-bit wide write data are
                                                              disabled”
“actively drive a respective    to “drive” means              Adopts and applies the Court’s adoption
section of the [first/second]   “enabling only one of the     of the “fork-in-the-road” configuration
N-bit wide data”                data paths while the other    and rejection of the “straight-line”
                                possible paths are            configuration to construe “drive” to
’339: claim 19                  disabled” (i.e., no further   mean “enabling only one of the data
                                construction necessary)       paths while the other possible paths are
                                                              disabled,” i.e.,
                                                              “enable only one of the data paths for a
                                                              respective section of the [first/second] N-
                                                              bit wide data while the other possible
                                                              data paths for the same respective section
                                                              of the [first/second] N-bit wide data are
                                                              disabled”
“drive the respective n-bit     to “drive” means              Adopts and applies the Court’s adoption
section of the write data”      “enabling only one of the     of the “fork-in-the-road” configuration
                                data paths while the other    and rejection of the “straight-line”
’339: claim 27                  possible paths are            configuration to construe “drive” to
                                disabled” (i.e., no further   mean “enabling only one of the data
                                construction necessary)       paths while the other possible paths are
                                                              disabled,” i.e.,
                                                              “enable only one of the data paths for a
                                                              respective n-bit section of the write data
                                                              while the other possible data paths for
                                                              the same respective n-bit section of the
                                                              write data are disabled”
“drive the respective n-bit     to “drive” means              Adopts and applies the Court’s adoption
section of the read data”       “enabling only one of the     of the “fork-in-the-road” configuration
                                data paths while the other    and rejection of the “straight-line”
                                possible paths are            configuration to construe “drive” to



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Term (Patent/Claim)                Netlist’s Proposed            Micron’s Proposed Construction              Court’s Construction
                                   Construction
’339: claim 27                     disabled” (i.e., no further   mean “enabling only one of the data
                                   construction necessary)       paths while the other possible paths are
                                                                 disabled,” i.e.,
                                                                 “enable only one of the data paths for a
                                                                 respective n-bit section of the read data
                                                                 while the other possible data paths for
                                                                 the same respective n-bit section of the
                                                                 read data are disabled”
“N-bit wide write data”                                                                                      “write data that is N bits in
                                            [Agreed]                             [Agreed]                    width”
’339: claims 1-3, 11, 14

“in accordance with a latency                                                                                ”a time period wherein the
parameter”                                                                                                   start of the time period
                                            [Agreed]                             [Agreed]                    depends on at least a
’339: claims 1, 11, 34, 35                                                                                   latency parameter”

“A N-bit-wide memory                                                                                         The preamble is limiting.
module mountable in a
memory socket of a
computer system and
configurable to communicate
with a memory controller of
the computer system via                     [Agreed]                             [Agreed]
address and control signal
lines and N-bit wide data
signal lines, the N-bit wide
data signal lines including a
plurality of sets of data signal
lines, each set of data signal




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Term (Patent/Claim)                Netlist’s Proposed   Micron’s Proposed Construction   Court’s Construction
                                   Construction
lines is a byte wide, the
memory module comprising”

’339: claim 1
“A N-bit-wide memory                                                                     The preamble is limiting
module mountable in a
memory socket of a
computer system and
configured to communicate
with a memory controller of
the computer system via
address and control signal                 [Agreed]                   [Agreed]
lines and N-bit wide data
signal lines, the N-bit wide
data signal lines including a
plurality of sets of data signal
lines, the memory module
comprising”

’339: claims 11, 19




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Term (Patent/Claim)                 Netlist’s Proposed   Micron’s Proposed Construction   Court’s Construction
                                    Construction
“A memory module                                                                          The preamble is limiting
mountable in a memory
socket of a computer system
and configurable to
communicate with a memory
controller of the computer
system via address and
control signal lines and data               [Agreed]                   [Agreed]
signal lines, the data signal
lines including a plurality of
sets of data signal lines, each
set of data signal lines is n bit
wide, the memory module
comprising”

’339: claim 27




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                              Exhibit A4: Proposed Constructions for the ’918 and ’054 Patents

Term (Patent/Claim)         Netlist’s Proposed     Micron’s Proposed Construction                          Court’s Construction
                            Construction
“first” / “second” /        plain and ordinary     “first regulated voltage that is distinct from the
“third” / “fourth”          meaning (i.e., no      second, third, and fourth regulated voltages” /
“regulated voltages”        further construction   “second regulated voltage that is distinct from the
                            necessary beyond the   first, third, and fourth regulated voltages” / “third
’918: all claims            Court’s construction   regulated voltage that is distinct from the first,
                            in Samsung I)          second, and fourth regulated voltages” / “fourth
                                                   regulated voltage that is distinct from the first,
                                                   second, and third regulated voltages”
“first” / “second” /        plain and ordinary     “first voltage amplitude that is distinct from the
“third” / “fourth”          meaning (i.e., no      second, third, and fourth voltage amplitudes” /
“voltage amplitude”         further construction   “second voltage amplitude that is distinct from the
                            necessary beyond the   first, third, and fourth voltage amplitudes” / “third
’918: all claims            Court’s construction   voltage amplitude that is distinct from the first,
                            in Samsung I)          second, and fourth voltage amplitude” / “fourth
                                                   voltage amplitude that is distinct from the first,
                                                   second, and third voltage amplitude”
“at least three regulated   plain and ordinary     “at least three distinct regulated voltages”
voltages”                   meaning (i.e., no
                            further construction
’054: claims 1-15           necessary beyond the
                            Court’s construction
                            in Samsung I)

“plurality of regulated     plain and ordinary     “plurality of distinct regulated voltages”
voltages”                   meaning (i.e., no
                            further construction
’054: claims 16, 24         necessary beyond the




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Term (Patent/Claim)         Netlist’s Proposed     Micron’s Proposed Construction                            Court’s Construction
                            Construction
                            Court’s construction
                            in Samsung I)

“a second plurality of      plain and ordinary     “a second plurality of address and control signals
address and control         meaning (i.e., no      that are distinct from a first plurality of address and
signals”                    further construction   control signals”
                            necessary beyond the
ʼ918: claims 1-3, 4-7, 9-   Court’s construction
13, 15, 21                  in Samsung I)

“dual buck converter” /     “a buck converter       “buck converter with two outputs outputting two
“dual-buck converter”       with two regulated      distinct regulated voltages”
                            voltage outputs” (i.e.,
’918: claims 2, 17, 28      no further
                            construction
’054: claim 15              necessary beyond the
                            Court’s construction
                            in Samsung I)




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Term (Patent/Claim)         Netlist’s Proposed      Micron’s Proposed Construction                         Court’s Construction
                            Construction
“pre-regulated input        plain and ordinary      plain and ordinary meaning, where “a pre-regulated
voltage” /                  meaning (i.e., no       input voltage” is different from “an input voltage”
“input voltage”             further construction
                            necessary beyond the    (this is a new claim construction issue that was not
’918: claims 16-22, 30      Court’s construction    raised or decided in Samsung I, see Dkt. 109 at 14-
                            in Samsung I)           15)

                            (this claim
                            construction issue
                            was raised in
                            Samsung I, with the
                            Court rejecting the
                            construction Micron
                            now proposes, see,
                            Dkt. 110-05 at 81:20-
                            82:9)

“A memory module”           The preamble is         The preamble is non-limiting
                            limiting
’918 and ’054: all claims

“converter circuit”         Not subject to § 112,   This is a means-plus-function limitation.
                            ¶ 6; plain and
’918: all claims            ordinary meaning,       Function (claim dependent)
                            i.e., a circuit for     (i) “provid[ing] a fourth regulated voltage having a
                            voltage conversion      fourth voltage amplitude”;
                                                    (ii) “reduc[ing] the pre-regulated input voltage to
                                                    provide a fourth regulated voltage”;
                                                    (iii) “provid[ing] the fourth regulated voltage”;
                                                    (iv) “reduc[ing] the pre-regulated voltage input to
                                                    provide the fourth regulated voltage”



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Term (Patent/Claim)         Netlist’s Proposed      Micron’s Proposed Construction                           Court’s Construction
                            Construction

                                                    The corresponding structure that is “configured to”
                                                    perform the recited functions is a “converter
                                                    circuit,” as described in the ’918 patent at 29:18–64.
“first circuit”             plain and ordinary      “a circuit that is different from a memory module
                            meaning                 controller”
’054: claims 1-13, 15

“at least one circuit”      Not subject to §        This is a means-plus-function limitation.
                            112(6); plain and
’918: claims 1-3, 5-7, 9-   ordinary meaning.        Function (claim dependent)
13, 15, 21                                           (i) “receiv[ing] a first plurality of address and
                            If subject to §112(6), control signals via the first portion of the plurality
                            then:                    of edge connections”;
                                                     (ii) “output[ting] a second plurality of address and
                            Function: (i) receive control signals to the plurality of SDRAM
                            a first plurality of     devices”;
                            address and control      (iii) “receiv[ing] a first plurality of address and
                            signals via [the first/a control signals via a second portion of the plurality
                            second] portion of       of edge connections”;
                            the plurality of edge    (iv) “output a second plurality of address and
                            connections, and (ii) control signals to the plurality of SDRAM devices”
                            output a second
                            plurality of address
                            and control signals to The corresponding structure that is “operable to”
                            the plurality of         perform the recited functions is a “circuit that is
                            SDRAM devices.           different from a memory module controller,” as
                                                     described in the ’918 patent at 21:14–26:65, 29:33–
                            Structures: As           54.
                            described in 21:14-
                            23, 23:27-31, 23:41-



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Term (Patent/Claim)         Netlist’s Proposed      Micron’s Proposed Construction                            Court’s Construction
                            Construction
                            24:8 or equivalents
                            thereof.

“controller”                                        This is a means-plus-function limitation.
                            Not subject to §
’918: claims 12, 18-19,     112(6) and not          Function in ’918 Patent (claim dependent)
25-26                       indefinite; plain and   (i) “receiv[ing] the trigger signal, wherein, in
                            ordinary meaning.       response to the trigger signal, the controller
’054: claims 5, 7-13, 16-                           performs a write operation to the non-volatile
17, 23-25, 29-30            To the extent that      memory”;
                            “controller” is a §     (ii) “receiv[ing] the signal, wherein the controller
                            112(6) term, the        executes a write operation in response to the
                            function and            signal”;
                            corresponding           (iii) “receiv[ing] the signal, wherein, in response to
                            structure vary for      the signal, the controller executes a write operation”
                            each claim, contrary
                            to Micron’s attempt     Function in ’054 Patent (claim dependent)
                            to aggregate all        (i) “perform[ing] one or more operations including a
                            functions into the      write operation to transfer data to non-volatile
                            term.                   memory” “in response to the trigger signal”;
                                                    (ii) “perform[ing] one or more operations in
                            Structures: ASIC,
                                                    response to the voltage monitor circuit detecting an
                            PLD, CPLD, FPGA,
                                                    amplitude change in the input voltage, and wherein
                            custom-designed
                                                    the one or more operations include a write operation
                            semiconductor
                                                    to transfer data into non-volatile memory”
                            device as described
                            in 23:1-27, 24:35-37,
                                                    Corresponding Structure in ’918 Patent
                            25:8-31, 29:33-54,
                            32:49-51 or
                                                    The corresponding structure that is “configured to”
                            equivalents thereof.
                                                    perform the recited functions is a “controller that is
                                                    different from the at least one circuit and the voltage



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Term (Patent/Claim)        Netlist’s Proposed       Micron’s Proposed Construction                           Court’s Construction
                           Construction
                                                    monitor circuit and the one or more registers,” as
                                                    described in the ’918 patent at 21:14–26:65, 29:33–
                                                    54.

                                                    Corresponding Structure in ’054 Patent

                                                    The corresponding structure that is “configured to”
                                                    perform the recited functions is a “controller that is
                                                    different from the first circuit and the voltage
                                                    monitor circuit,” as described in the ’054 patent at
                                                    21:14–26:65, 29:33–54.
“first operable state”                              “state in which a controller and a non-volatile
                           “first operable state”
                                                    memory subsystem are operatively decoupled (e.g.,
                           is a “state in which
ʼ054: claims 4-7, 11-12,                            isolated) from a volatile memory subsystem by at
                           the memory module
16-17, 23, 25-26                                    least one circuit”
                           is operated before
                           transition”; not
                           indefinite               In the alternative, indefinite

“second operable state”                             “state in which the volatile memory subsystem is
                           “second operable         operatively coupled to the controller to allow data to
ʼ054: claims 4-7, 11-12,   state” is a “state in    be communicated between the volatile memory
16-17, 23, 25-26           which the memory         subsystem and the nonvolatile memory subsystem
                           module is operated       via the controller”
                           after transition”; not
                           indefinite
                                                    In the alternative, indefinite




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